
















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. PD-1911-11





DONALD RAY BRITTON, Appellant


v.


THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE SECOND COURT OF APPEALS

 HOOD COUNTY





Per curiam.  Keasler, and Hervey, J.J., dissent.


O R D E R 


	The petition for discretionary review violates Rule's of Appellate Procedure 9.3(b)
and 68.5 because the original petition is not accompanied by 11 copies, and the petition
exceeds 15 pages. The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Appeals within thirty days after the date of this order.


Delivered:  March 7, 2012

Do Not Publish.



